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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                     4:12CR3140

       vs.
                                                          MEMORANDUM AND ORDER
GRADY E. GARTMAN, LESLIE W.
ELLIOTT,

                      Defendants.


       Defendant Elliott has moved to continue the trial currently set for March 18, 2013. (Filing
No. 24). As explained in the motion, the defendant needs additional time to investigate this case
and review discovery. The motion to continue is unopposed. Based on the showing set forth in
the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendant Elliott's motion to continue, (filing no. 24), is granted.

       2)     As to both defendants, the trial of this case is set to commence before the
              Honorable Richard G. Kopf, Senior United States District Judge, in Courtroom 1,
              United States Courthouse, Lincoln, Nebraska, at 9:00 a.m. on May 6, 2013, or as
              soon thereafter as the case may be called, for a duration of five (5) trial days. Jury
              selection will be held at commencement of trial.

       3)     Based upon the showing set forth in the defendant Elliott's motion and the
              representations of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a speedy
              trial. Accordingly, as to both defendants, the additional time arising as a result
              of the granting of the motion, the time between today’s date and May 6, 2013,
              shall be deemed excludable time in any computation of time under the
              requirements of the Speedy Trial Act, because despite counsel’s due diligence,
              additional time is needed to adequately prepare this case for trial and failing to
              grant additional time might result in a miscarriage of justice. 18 U.S.C. §
              3161(h)(1), (h)(6) & (h)(7).

              March 4, 2013.
                                                     BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
